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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

BRIAN BAUDE,                                  )
                                              )
                  Plaintiff,                  )       Case No. 4:18-CV-1564
                                              )
v.                                            )       JURY TRIAL DEMANDED
                                              )
CITY OF ST. LOUIS, et al.,                    )
                                              )
                  Defendants.                 )

                 DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO
                      PLAINTIFF’S SECOND AMENDED COMPLAINT

            Defendants City of St. Louis and Col. Gerald Leyshock, Lt. Scott Boyher, Lt.

     Timothy Sachs, Sgt. Randy Jemerson, Sgt. Matthew Karnowski, Sgt. Brian Rossomanno, and

     Officer Timothy Bockskopf (Defendants), file this answer and affirmative defenses to

     Plaintiff’s Second Amended Complaint. Any averment of fact that is not expressly admitted

     herein is denied.

                                 JURISDICTION AND VENUE


            1.     Plaintiff brings this claim pursuant to 42 U.S.C. § 1983, the Fourteenth

     Amendment to the United States Constitution, and the First and Fourth Amendments, as

     incorporated as against States and their municipal divisions through the Fourteenth

     Amendment.

     ANSWER: Paragraph 1 states no allegations of fact requiring no response. To the

     extent a response is required, Defendants admit that Plaintiff brings this action under

     42. U.S.C. § 1983, but denies the apparent allegation of a direct action under the First,

     Fourth, and Fourteenth Amendments to the Constitution of the United States.


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        2.      The jurisdiction of this Court is proper pursuant to 28 U.S.C. § 1331

 because Plaintiff's action arises under the Constitution of the United States and § 1343(a)(3)

 to redress the deprivation of rights secured by the Constitution of the United States.

  ANSWER: Paragraph 2 states no allegations of fact, requiring no response. To the

  extent a response is required, Defendants admit that this Court has jurisdiction.

        3.      Venue is proper in the United States District Court for the Eastern

 District of Missouri pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the

 events giving rise to the claims occurred in the City of St. Louis.

  ANSWER: Paragraph 3 states no allegations of fact, requiring no response. To the

  extent a response is required, Defendants admit that venue is proper.

        4.      Divisional venue is proper in the Eastern Division because a substantial part of

 the events leading to the claims for relief arose in the City of St. Louis and Defendants

 reside in the Eastern Division. E.D. Mo. L.R. 2.07(A)(1), (B)(1).

  ANSWER: Paragraph 4 states no allegations of fact, requiring no response. To the

  extent a response is required, Defendants admit that venue is proper.

        5.      This Court has supplemental jurisdiction over the included Missouri state

 law claims pursuant to 28 U.S.C. §1367.

  ANSWER: Paragraph 5 states no allegations of fact, requiring no response. To the

  extent a response is required, Defendants deny paragraph 5’s allegations.

        6.      Plaintiff demands a trial by jury pursuant to Fed. R. Civ. P. 38(b).

  ANSWER: Defendants admit that Plaintiff has requested a jury trial.


                                           PARTIES

        7.      Defendant the City of St. Louis, Missouri (hereinafter, "City of St. Louis") is a


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 first- class city, and a political subdivision of the State of Missouri duly organized under the

 Constitution of Missouri.

  ANSWER:          Defendants admit that the City of St. Louis is a constitutional charter

  City organized and existing under the laws of the State of Missouri, but deny all other

  allegations of paragraph 7.

         8.      The St. Louis Metropolitan Police Department ("SLMPD") is an

 instrumentality of the City of St. Louis, Missouri organized and controlled pursuant to the

 Statutes of the State of Missouri.

  ANSWER: Defendants admit that the division of police is a division or agency of the

  City of St. Louis and is commonly known as the St. Louis Metropolitan Police

  Department, and that the Division of Police operates in accordance with law as a

  division within City government, but deny all other allegations of paragraph 8.

         9.      The Public Facilities Protection Corporation of the City of St. Louis insures

 the SLMPD.

  ANSWER: Defendants deny the allegations of paragraph 9.

         10.     Gerald Leyshock is employed as a police officer with the SLMPD. Mr.

 Leyshock has the rank of lieutenant colonel. Mr. Leyshock was the incident commander

 during the events of September 17, 2017. Lieutenant Colonel Leyshock knew or should have

 known that there was no probable cause for the arrest of Plaintiff and that there was no legal

 justification to use force against Plaintiff.

  ANSWER: Defendant admits Gerald Leyshock is employed as a police officer with the

  division of police and has the rank of lieutenant colonel. Defendants admit Gerald

  Leyshock was the incident commander during the events of September 17, 2017.

  Defendants deny all remaining allegations of paragraph 10.
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         11.     Scott Boyher is employed as a police officer with the SLMPD. Mr. Boyher has

 the rank of lieutenant. Mr. Boyher was on the ground supervising SLMPD officers during

 the events of September 17, 2017. Lieutenant Boyher knew or should have known that there

 was no probable cause for the arrest of Plaintiff and that there was no legal justification to use

 force against Plaintiff.

  ANSWER: Defendants admit that Lt. Boyher was a lieutenant with the Division of

  Police, and that he supervised officers of the Bicycle Response Team on September 17,

  2017. Defendants further admit that Lt. Boyher is currently employed by the Division of

  Police. Defendants deny paragraph 11’s remaining allegations.

         12.     Timothy Sachs is employed as a police officer with the SLMPD. Mr. Sachs

 has the rank of lieutenant. Mr. Sachs was on the ground supervising SLMPD officers during

 the events of September 17, 2017. He ordered the use of chemical agents and brought

 SLMPD's Civil Disobedience Team to the scene of the mass arrest. Lieutenant Sachs knew or

 should have known that there was no probable cause for the arrest of Plaintiff and that there

 was no legal justification to use force against Plaintiff.

  ANSWER: Defendants admit Timothy Sachs was employed with the division of police

  and had the rank of lieutenant. Defendants admit Timothy Sachs was present for

  protest activities and police response on September 17, 2017. Defendants deny all

  remaining allegations in paragraph 12.

         13.     Randy Jemerson is employed as a police officer with the SLMPD. Mr.

 Jemerson has the rank of sergeant. He is a supervisor with the SLMPD's Civil Disobedience

 Team, a team tasked with handling protests and incidents of civil unrest. Mr. Jemerson

 was on the ground supervising SLMPD officers during the events of September 17, 2017.

 Sergeant Jemerson knew or should have known that there was no probable cause for the arrest


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 of Plaintiff and that there was no legal justification to use force against Plaintiff.

  ANSWER: Defendants admit Randy Jemerson is currently employed as a police

  officer with the division of police and has the rank of lieutenant. Defendants admit that

  Randy Jemerson was a supervisor with the Civil Disobedience Team. Defendants deny

  all remaining allegations in paragraph 13.

         14.     Matthew Karnowski is employed as a police officer with the SLMPD. Mr.

 Karnowski has the rank of sergeant. Mr. Karnowski was on the ground supervising

 SLMPD officers during the events of September 17, 2017. He declared the protests an

 "unlawful assembly" which SLMPD used as a predicate to the arrests and use of chemical

 agents. Sergeant Karnowski knew or should have known that there was no probable cause

 for the arrest of Plaintiff and that there was no legal justification to use force against

 Plaintiff.

  ANSWER: Defendants admit Matthew Karnowski is employed with the division of

  police and has the rank of sergeant. Defendants admit Matthew Karnowski was present

  for protest activities and police response on September 17, 2017. Defendants deny all

  remaining allegations in paragraph 14.

         15.     Brian Rossomanno is employed as a police officer with the SLMPD. Mr.

 Rossomanno has the rank of sergeant. He is a supervisor with the SLMPD's Civil

 Disobedience Team, a team tasked with handling protests and incidents of civil unrest. Mr.

 Rossomanno was on the ground supervising SLMPD officers during the events of

 September 17, 2017. Sergeant Rossomanno knew or should have known that there was no

 probable cause for the arrest of Plaintiff and that there was no legal justification to use force

 against Plaintiff.

  ANSWER: Defendants admit Brian Rossomanno was employed with the division of

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  police and had the rank of sergeant during the events of September 17, 2017.

  Defendants admit Brian Rossomanno was a supervisor of the Civil Disobedience Team.

  Defendants deny all remaining allegations in paragraph 15.

          16.   Timothy Bockskopf is employed as a police officer with the SLMPD.

 Officer Bockskopf arrested Plaintiff on September 17, 2017. Officer Bockskopf knew or

 should have known that there was no probable cause for the arrest of Plaintiff and that

 there was no legal justification to use force against Plaintiff.

  ANSWER: Defendants admit Aaron Gaddis was employed as a police officer with the

  division of police on September 17, 2017. Defendants deny all remaining allegations of

  paragraph 16.

          17.   John Does #1-5 are as of yet unidentified police officers with the St.

 Louis Metropolitan Police Department. These unnamed defendants arrested Plaintiff, used

 chemical munitions against Plaintiff, prevented Plaintiff from leaving the area, and

 unlawfully arrested Plaintiff. Plaintiff has been unable to identify these officers removed

 their name tags from the uniforms in violation of guidance promulgated by the U.S.

 Department of Justice and standard law enforcement practices. Further, the officers wore

 masks concealing their faces. But for their own actions, these officers could have been

 identified. John Does #1-5 knew or should have known that there was no probable cause for

 the arrest of Plaintiff and that there was no legal justification to use force against Plaintiff.

  ANSWER:         Defendants deny paragraph 17’s allegations.

          18.   Plaintiff is resident of the City of St. Louis. He currently works at Scott Air

 Force Base as an Air Logistics Coordinator. He serves as a lieutenant colonel in the National

 Guard.

  ANSWER: Defendants are without sufficient information to form a belief as to the


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  truth of paragraph 18’s allegations, and therefore deny the same.

                                              FACTS

           19.   On Friday, September 15, 2017, after a four-day bench trial, a Missouri

 Circuit Court Judge acquitted Officer Jason Stockley of the first-degree murder of Anthony

 Lamar Smith. See Exh. A, Stockley Verdict.

  ANSWER: Defendants admit the allegations of paragraph 19 and the accuracy of the

  referenced exhibit A.

           20.   This acquittal shocked many in the St. Louis community as an audio

 recording submitted into evidence in the trial captured Officer Stockley saying "we're

 killing this motherfucker, don't you know" in reference to Mr. Smith. Id. at 5.

  ANSWER: Defendants are without sufficient information to form a belief as to the

  truth of how anyone in particular reacted to the verdict or why they reacted, and

  therefore deny the same.

           21.   Further, evidence showed that during the incident Officer Stockley was in

 possession of an assault rifle that had not been issued to him by the SLMPD. Id. at 23.

  ANSWER: Defendants admit that exhibit A contains a finding regarding an assault

  rifle.

           22.   In addition, Officer Stockley claimed to find a gun in Mr. Smith's car after he

 killed Mr. Smith. Id. at 25.

  ANSWER: Defendants admit that exhibit A contains a finding that Officer Stockley

  found a gun in the deceased drug dealer’s car.

           23.   Only Officer Stockley's DNA was found on the gun, leading many, including

 the Circuit Attorney of the City of St. Louis, to believe that Stockley planted the gun on

 Mr. Smith after Mr. Smith's death, in an effort to justify the killing. Id. at 12.

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  ANSWER: Defendants lack sufficient knowledge and information to admit the

  allegations of paragraph 23, which are in any event immaterial to this action.

        24.       At trial, Officer Stockley's partner did not testify in Stockley's defense. Rather,

 the partner invoked his Fifth Amendment right against self-incrimination.

  ANSWER: Defendants lack sufficient knowledge and information to admit the

  allegations of paragraph 24, which are in any event immaterial to this action.

        25.       Following the announcement of the Stockley Verdict, public protests

 began at multiple locations in St. Louis and surrounding communities.

  ANSWER: Defendants admit paragraph 25’s allegations.

        26.       To many in the St. Louis community, Officer Stockley's acquittal was yet

 another example of white St. Louis-area police officers killing African-American citizens

 with impunity.

  ANSWER: Defendants lack sufficient knowledge and information to admit the

  allegations of paragraph 26.

        27.       Further, in the view of the protestors, the acquittal further supported their view

 that the American criminal justice system does not believe that Black lives matter.

  ANSWER: Defendants lack sufficient knowledge and information to admit the

  allegations of paragraph 27.

        28.       In response to the protests, St. Louis Metropolitan police officers amassed at

 several protests wearing military-like tactical dress, helmets, batons, and full-body riot

 shields and carrying chemicals, such as tear gas, skunk, inert smoke, pepper gas, pepper

 pellets, xylyl bromide, and/or similar substances (collectively, "chemical agents").

  ANSWER: Defendants admit that, in response to threats of civil disorder, police

  officers were deployed at various locations, but Defendants deny that all such officers

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  were fully equipped with riot gear or chemical agents; Defendants deny all other

  allegations of paragraph 28.

        29.     This is in stark contrast to SLMPD's appearance at a multitude of other

 un- permitted protests where the police themselves are not the target of the protest, including

 an anti- Donald Trump march on November 13, 2016, the St. Louis Women's March on

 January 21, 2017, the St. Louis LQBTQIA March and Rally on February 22, 2017, and

 the St. Louis March for Science on April 22, 2017.

  ANSWER: Defendants deny paragraph 29’s allegations.

        30.     Virtually all of the protests were non-violent.

  ANSWER: Defendants deny paragraph 30’s allegations.

        31.     On three occasions, a handful of protesters committed minor property

 damage, including broken windows and broken flower pots.

  ANSWER: Defendants admit that protests became violent and protesters engaged in

  acts of assault and vandalism in September 2017 in the City of St. Louis; defendants

  deny all other allegations of paragraph 31.

        32.     During the Stockley protests, SLMPD police officers without warning

 deployed chemical agents against individuals observing, recording, or participating in

 protest activity, including but not limited to the following:

                a.      The afternoon of Friday, September 15, 2017, near the intersection of

        Clark and Tucker Avenues.


                b.      The evening of Friday, September 15, 2017, near the

        intersection of McPherson and Euclid Avenues.

                c.      The evening of Friday, September 15, 2017, near the

        intersection of Waterman and Kingshighway Boulevards.

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                d.     The evening of Friday, September 15, 2017, near the intersection of

         Lindell and Euclid Avenues.

                e.     The evening of Friday, September 15, 2017, near the intersection of

         Euclid and Maryland Avenues.

                f.     The evening of Friday, September 15, 2017, near the intersection of

         Lindell and Kingshighway Boulevards.

                g.     The evening of Friday, September 15, 2017, near the intersection of

         Euclid Avenue and Pershing Place.

                h.     The evening of Friday, September 15, 2017, on Hortense Place.

                i.     The evening of Sunday, September 17, 2017, near the intersection of

         Tucker Boulevard and Washington Avenue.

                j.     The evening of September 29, 2017 outside of Busch Stadium.

  ANSWER: Defendants admit that in responding to illegal conduct by persons engaged

  in disorderly protest and other group actions in September 2017 in the City of St. Louis,

  some police officers utilized chemical agents in a reasonable and lawful manner;

  Defendants otherwise deny each and every allegation of paragraph 32 and each

  subparagraph thereof.

         33.    These incidents are consistent with the pattern and practice of SLMPD of

  indiscriminately using chemical agents without warning.

  ANSWER: Defendants deny paragraph 33’s allegations.

         34.    In October 2014, SLMPD fired chemical agents at protestors on South Grand.

  ANSWER: Defendants deny paragraph 34’s allegations.

         35.    In November 2014, SLMPD officers fired chemical agents at protestors on

  South Grand as well as into a business where peaceful protestors had congregated.


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  SLMPD officers refused to allow the protestors to leave.

  ANSWER: Defendants deny paragraph 35’s allegations.

         36.     On December 11, 2014, a federal judge in this District issued a temporary

  restraining order enjoining the SLMPD from enforcing any rule, policy, or practice that grants

  law enforcement officials the authority or discretion to:

  (1)    utilize tear gas, inert smoke, pepper gas, or other chemical agents
         (collectively, "chemical agents") for the purpose of dispersing groups of
         individuals who are engaged in peaceful, non-criminal activity in the City of
         St. Louis or in the County of St. Louis

                 (a)     without first issuing clear and unambiguous warnings that
         such chemical agents will be utilized;
                 (b)     without providing the individuals sufficient opportunity to heed
         the warnings and exit the area;
                 (c)     without minimizing the impact of such chemical agents on
         individuals who are complying with lawful law enforcement commands; and
                 (d)     without ensuring that there is a means of safe egress from the
         area that is available to the individuals; and

  (2)    utilize chemical agents on individuals engaged in peaceful, non-criminal
         activity in the City of St. Louis or in the County of St. Louis for the purpose
         of frightening them or punishing them for exercising their constitutional
         rights.

  See Exh. B, Temporary Restraining Order in Templeton v. Dotson, No. 4:14-cv-02019 (E.D.

  Mo. Dec. 11, 2014) at 3.

  ANSWER: Defendants admit that an order was entered as reflected in Exhibit B and

  that a portion of that order is quoted in paragraph 36; Defendants deny all other

  allegations of paragraph 36.

         37.     This suit was in response to SLMPD firing chemical agents into a business

  where peaceful protestors had congregated without allowing the protestors to leave.

  ANSWER: Defendants deny paragraph 37’s allegations.

         38.     The City entered into a settlement agreement on March 25, 2015, where it

  agreed as follows:

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          A.      Defendants and their agents, servants, employees, and representatives,
  will not enforce any rule, policy, or practice that grants law enforcement officials the
  authority or discretion to:
                  (1)    utilize tear gas, inert smoke, pepper gas, or other chemical
          agents (collectively, "chemical agents") for the purpose of dispersing
          groups of individuals who are engaged in non-criminal activity:

                         (a)    without first issuing clear and unambiguous warnings
                 that such chemical agents will be utilized;
                         (b)    without providing the individuals sufficient
                 opportunity to heed the warnings and exit the area;
                        (c)    without reasonably attempting to minimize the
                 impact of such chemical agents on individuals who are complying
                 with lawful law enforcement commands; and
                        (d)    without ensuring that there is a means of safe egress
                 from the area that is available to the individuals and announcing this
                 means of egress to the group of individuals.

                        (2)     utilize chemical agents on individuals engaged in non-
                criminal activity for the purpose of frightening them or punishing them
                for exercising their constitutional rights.

                B.     Provided, however, that Paragraph A hereof shall not be
        applicable to situations that turn violent and persons at the scene present an
        imminent threat of bodily harm to persons or damage to property, and when
        law enforcement officials must defend themselves or other persons or property
        against such imminent threat.

 See Exh. C, Settlement Agreement in Templeton v. Dotson, No. 4:14-cv-02019 (E.D.

        Mo. Mar. 25, 2015) at 1-2.

  ANSWER: Defendants admit that the City of St. Louis entered into a consent decree in

  settlement of claims in the case styled Templeton v. Dotson, et al., as reflected in Exhibit

  C and that a portion of the consent decree is quoted in paragraph 38; Defendants object

  to allegations pertaining to a settlement agreement as a basis for a complaint and

  Defendants deny all other allegations of paragraph 38.

         39.     Less than two months after entering into this Consent Decree, SLMPD

began to violate the Decree.

  ANSWER: Defendants deny paragraph 39’s allegations.


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         40.     On May 19, 2015, in response to protests over the St. Louis Circuit

Attorney's office's refusal to charge another SLMPD officer for killing another African-

American man, SLMPD officers deployed chemical agents against peaceful, non-criminal

protestors without warning. See Exh. D, Transcript of Testimony, Volume 1, Ahmad v. St.

Louis, No. 4:17-cv-02455 (E.D. Mo. Oct. 18, 2017) at 69.

  ANSWER: Defendants admit that Exhibit D is a transcript of testimony in the

  proceeding described in paragraph 40, but Defendants otherwise deny the allegations of

  paragraph 40.

         41.     On August 19, 2015, a protest occurred because SLMPD officers killed

another African-American man in the Fountain Park neighborhood. According to the

testimony of Sarah Molina, a local attorney, SLMPD officers indiscriminately used chemical

agents without giving an audible and intelligible warning at the intersection of Walton Avenue

and Page Boulevard. Id. at 50-52. Molina testified that SLMPD officers fired chemical agents

at her without giving her an opportunity to leave. Id. SLMPD officers continued using

chemical agents against people fleeing the area and even fired chemical agents at people

peacefully standing on or in their own properties. Id. Thirty minutes after the protests had

dissipated, SLMPD officers returned and fired chemical agents at Ms. Molina, who was

standing on property that she owns. Id.

  ANSWER: Defendants deny paragraph 41’s allegations.

          42.    On July 21, 2017, SLMPD officers used chemical agents against people

  protesting the treatment of detainees in the St. Louis City Workhouse. Id. at 71, 91.

  Although a few people did engage in unlawful activity earlier in the night, SLMPD

  officers pepper sprayed numerous people, none of whom were involved in criminal activity

  or were even at the same location as the criminal activity. These protesters were engaged in


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  non-violent protesting when SLMPD officers sprayed them with chemical agents. Id.

  ANSWER: Defendants admit that a group of violent persons attempted to invade the

  premises of a correctional facility known as the Medium Security Institution of the City

  of St. Louis in July 2017, and that reasonable and lawful measures were taken by police

  officers to protect themselves and the facility; Defendants otherwise deny the allegations

  of paragraph 42.

         43.     Defendants' action in the instant matter follows the same script whereby

  SLMPD officers violate the Constitutional rights of people expressing their First

  Amendment right to protest against the police. Defendants' pattern and practice of illegally

  arresting and using chemical munitions against peaceful citizens is not only well documented

  but is detailed in Ahmad and Templeton.

  ANSWER: Defendants deny paragraph 43’s allegations.

         44.     This pattern and practice of utilizing chemical agents on individuals

  engaged in peaceful, non-criminal activity continued on September 17, 2017.

  ANSWER: Defendants deny paragraph 44’s allegations.

         45.     According to Defendant Rossomanno, on September 17, 2017, between

  8:00 PM and 9:00 PM, a handful of individuals broke windows and destroyed flower pots on

  the 900, 1000, and 1100 blocks of Olive Street in downtown St. Louis. See Exh. E,

  Transcript of Testimony, Volume 1, Ahmad v. St. Louis, No. 4:17-cv-02455 (E.D. Mo. Oct.

  18, 2017) at 188.

 ANSWER:       Defendants admit at various points on September 17, 2017 individuals

 engaged in various forms of property damage. Defendants deny the remaining

 allegations in paragraph 45.

         46.     There is no evidence nor allegations that Plaintiff was in any way involved


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  in this destruction of property.

 ANSWER:         Defendants deny paragraph 46’s allegations.

          47.     Defendants testified that Defendant Leyshock was the incident commander

  directing all of the supervisors including the other named Defendants. Id. at 191.

  ANSWER: Defendants admit that Defendant Leyshock was the incident commander

  on September 17, 2017. Defendants deny paragraph 47’s allegations.

          48.     Defendants testified that Defendant Sachs was in direct command of the

  officers in tactical gear. Id.

  ANSWER: Defendants deny paragraph 48’s allegations.

          49.     Defendant Rossomanno also testified that at approximately 8:48 PM the

  small number of protestors present at the time were ordered to disperse and could "be

  subject to arrest and/or chemical munitions." See Exh. F, Rossomanno Declaration, Ahmad

  v. St. Louis, No. 4:17- cv-02455 (E.D. Mo. Oct. 12, 2017), Doc. 33-6 at 4.

  ANSWER: Defendants admit protestors were given repeated dispersal orders and

  warned of the possibility of arrests and chemical munitions. Defendants otherwise deny

  paragraph 49’s allegations.

          50.     Defendant Rossomanno testified that a second dispersal order was given at

  8:51 PM. Id. at 5.

  ANSWER: Defendants admit protestors were given repeated dispersal orders and

  warned of the possibility of arrests and chemical munitions. Defendants otherwise deny

  paragraph 50’s allegations.

          51.     Plaintiff was not present for these alleged dispersal orders.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 51’s allegations and therefore deny the same.


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         52.     Defendants Rossomanno and Jemerson directed people to the intersection of

  Washington and Tucker, where the Defendants had already decided that they would kettle,

  pepper spray, beat, and illegally arrest Plaintiff. See Exh. E at 195.

  ANSWER: Defendants deny paragraph 52’s allegations.

         53.     Although Defendant Sachs heard some sort of order being given, he

  testified that he could not make out "exactly what was being said." See Exh. E at 25.

  ANSWER: Defendants admit that Exhibit E is quoted in part in paragraph 53, but

  defendants deny all other allegations and conclusions of paragraph 53.

         54.     Over the next two plus hours, SLMPD officers began blocking roads and

  directing civilians to the intersection of Washington Avenue and Tucker Boulevard.

  ANSWER: Defendants admit that on September 17, 2017 officers blocked certain

  roads downtown. Defendants otherwise deny the allegations of paragraph 54.

         55.     Defendant Karnowski testified that he and the officers under his command

  began to "push (the protestors) north" toward Washington Avenue and Tucker Boulevard.

  See Exh. E at 125-126. He also testified that he determined that the protest that evening

  was an "unlawful assembly." Id. at 136-137.

 ANSWER:        Defendants admit that on the evening of September 17, 2017 an unlawful

 assembly was occurring in the vicinity of Washington and Tucker. Defendants otherwise

 deny paragraph 55’s allegations.

         56.     This area is home to many condominiums, apartment buildings, and

  businesses, including restaurants and bars.

  ANSWER: Defendants admit paragraph 56’s allegations.

         57.     Defendant Sachs came up with the plan to arrest everyone present. See Exh. E

  at 27. He presented his plan to Defendant Leyshock, who approved the plan. Id. The plan was


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  to not let anyone leave that was in the vicinity of Washington Avenue and Tucker Boulevard.

  Id. at 27- 40.

  ANSWER: Defendants admit that probable cause existed to arrest persons at Tucker

  and Washington and some such persons were arrested on probable cause on September

  17, 2017. Defendants otherwise deny paragraph 57’s allegations.

          58.      Defendants Leyshock, Sachs, Rossomanno, and Jemerson knew or should

  have known that their plan to kettle the people that SLMPD directed to the intersection of

  Washington and Tucker and arrest them, merely for being present, would result in arrests

  without probable cause and the unjustified use of force to effectuate said arrests.

  ANSWER: Defendants deny paragraph 58’s allegations.

          59.      At approximately 11:15 PM or 11:20 PM, SLMPD officers began forming

  into lines.

  ANSWER: Defendants admit police officers formed lines in the vicinity of Washington

  and Tucker at various times throughout the evening on September 17, 2017. Defendants

  otherwise deny paragraph 59’s allegations.

          60.      This was nearly three hours after the windows and flower pots were

  broken and many blocks away from the damaged businesses.

  ANSWER: Defendants deny paragraph 60’s allegations.

          61.      SLMPD's Civil Disobedience Team appeared at the scene.

  ANSWER: Defendants admit paragraph 61’s allegations.

          62.      A line of officers extended across all of the street and sidewalk on

  Washington Avenue one block west of Tucker Boulevard.

  ANSWER: Defendants admit police officers formed lines in the vicinity of Washington

  and Tucker at various times throughout the evening on September 17, 2017. Defendants

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  otherwise deny paragraph 62’s allegations.

         63.     A line of officers extended across all of the street and sidewalk on Tucker

  Boulevard one block north of Washington Avenue.

  ANSWER: Defendants admit police officers formed lines in the vicinity of Washington

  and Tucker at various times throughout the evening on September 17, 2017. Defendants

  otherwise deny paragraph 63’s allegations.

         64.     A line of officers extended across all of the street and sidewalk on Tucker

  Boulevard one block south of Washington Avenue.

  ANSWER: Defendants admit police officers formed lines in the vicinity of Washington

  and Tucker at various times throughout the evening on September 17, 2017. Defendants

  otherwise deny paragraph 64’s allegations.

         65.     All three of these lines were comprised of officers all wearing military-like

  tactical dress, including helmets. These officers were carrying long wooden batons and

  full-body riot shields.

 ANSWER:        Defendants admit police officers formed lines in the vicinity of Washington

 and Tucker at various times throughout the evening on September 17, 2017. Defendants

 otherwise deny paragraph 65’s allegations.

         66.     A fourth line of extended across all of the street and sidewalk on

  Washington Avenue one half block east of Tucker Boulevard.

 ANSWER:        Defendants admit police officers formed lines in the vicinity of Washington

 and Tucker at various times throughout the evening on September 17, 2017. Defendants

 otherwise deny paragraph 66’s allegations.

         67.     These officers were carrying bicycles and were being directed by Defendant

  Boyher. See Exh. E at 30-31.


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  ANSWER: Defendants admit some officers were equipped with bicycles and some such

  officers were under the supervision of Defendant Boyher. Defendants otherwise deny

  the allegations of paragraph 67.

         68.     Each of the four lines began to approach the intersection of Washington

  Avenue and Tucker Boulevard.

  ANSWER: Defendants admit police officers formed lines in the vicinity of Washington

  and Tucker at various times throughout the evening on September 17, 2017. Defendants

  otherwise deny paragraph 68’s allegations.

         69.     Without further instruction or warning, SLMPD officers surrounded

  Downtown residents, business patrons, protestors, observers, and members of the press,

  cutting off all routes of egress - including via any sidewalk - and prohibiting the people

  trapped inside from leaving.

  ANSWER: Defendants admit police officers formed lines in the vicinity of Washington

  and Tucker at various times throughout the evening on September 17, 2017. Defendants

  admit that probable cause existed to arrest persons at Tucker and Washington and

  some such persons were arrested on probable cause on September 17, 2017. Defendants

  otherwise deny paragraph 69’s allegations.

         70.     As they approached, the SLMPD police officers began banging batons against

  their riot shields and the street in unison causing a foreboding and terrifying sound, akin to a

  war march.

  ANSWER: Defendants deny paragraph 70’s allegations.

         71.     As the SLMPD police officers began to close in on the citizens that

  SLMPD had forced into the intersection of Washington Avenue and Tucker Boulevard,

  the officers blocked anyone from leaving the area.


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  ANSWER: Defendants admit police officers formed lines in the vicinity of Washington

  and Tucker at various times throughout the evening on September 17, 2017. Defendants

  admit that probable cause existed to arrest persons at Tucker and Washington and

  some such persons were arrested on probable cause on September 17, 2017. Defendants

  otherwise deny paragraph 71’s allegations.

         72.    Video evidence shows multiple citizens approaching officers and requesting

  to be let through. These peaceful and lawful requests were not only ignored but responded to

  by screams of "get back!" See Exh. G.

  ANSWER: Defendants deny paragraph 72’s allegations.

         73.    In addition, the closing phalanxes of officers cut off access to all alleys and

  other means of egress.

  ANSWER: Defendants admit police officers formed lines in the vicinity of Washington

  and Tucker at various times throughout the evening on September 17, 2017. Defendants

  admit that probable cause existed to arrest persons at Tucker and Washington and

  some such persons were arrested on probable cause on September 17, 2017. Defendants

  otherwise deny paragraph 73’s allegations.

         74.    As the four lines closed, they trapped everyone who was within a one-block

  radius of the intersection of Washington Avenue and Tucker Boulevard.

  ANSWER: Defendants admit police officers formed lines in the vicinity of Washington

  and Tucker at various times throughout the evening on September 17, 2017. Defendants

  admit that probable cause existed to arrest persons at Tucker and Washington and

  some such persons were arrested on probable cause on September 17, 2017. Defendants

  otherwise deny paragraph 74’s allegations.

         75.    This is a law enforcement tactic known as "kettling."

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  ANSWER: Defendants deny paragraph 75’s allegations.

          76.     The SLMPD police officers kettled self-admitted protestors, residents who

  merely lived in the area, people visiting businesses in the area, reporters,

  documentarians, a homeless person, and an even an undercover SLMPD officer.

  ANSWER: Defendants deny paragraph 76’s allegations.

          77.     Video evidence even shows the officers grabbing an African-American male

  who was outside of the kettle and throwing him into the kettle.

  ANSWER: Defendants deny paragraph 77’s allegations.

          78.     As     the   kettle   closed,   video   evidence   shows   many   individuals

  approaching the officers and begging to pass.

  ANSWER: Defendants deny paragraph 78’s allegations.

          79.     Not surprisingly, the individuals in the kettle gravitated toward the line of

  bicycle officers rather than three lines of police in military gear, who were banging wooden

  batons against their riot shields.

  ANSWER: Defendants deny paragraph 79’s allegations.

          80.     Video evidence shows individuals peacefully approaching the bicycle officers

  with their hands up.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 80’s allegations and therefore deny the same.

          81.     In response, the bicycle officers began to aggressively jab at the individuals

  using their bicycles as battering rams.

  ANSWER: Defendants deny paragraph 81’s allegations.

          82.     Defendants Boyher and Karnowski were directing these officers. See Exh. E


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  at 30, 119, and 124. Rather than defuse the situation, Defendants Boyher and Karnowski

  directed the officers under their command to use force against the peacefully assembled

  people and supervised the unlawful arrests.

  ANSWER: Defendants admit Boyher and Karnowski were present and acting in a

  supervisory role. Defendants otherwise deny the allegations of paragraph 82.

          83.        Almost instantly and in unison, the other individuals in the kettle put their

  hands in the air as a sign of peaceful surrender.

  ANSWER: Defendants deny paragraph 83’s allegations.

          84.        Many laid prostrate on the ground. Others sat down. And others, who

  could not fully get to the ground because of the mass of people inside of the kettle, got as

  close to the ground as possible.

 ANSWER:        Defendants admit that some persons subject to arrest complied with police

 directives while other persons did not. Defendants otherwise deny paragraph 84’s

 allegations.

          85.        Even though video evidence shows that none of the individuals inside the

  kettle were acting violently or aggressively, the individuals in the kettle were

  indiscriminately and repeatedly doused with chemical agents without warning.

  ANSWER: Defendants deny paragraph 85’s allegations.

          86.        Many were kicked, beaten, and dragged.

  ANSWER: Defendants deny paragraph 86’s allegations.

          87.        Upon information and belief, an undercover African-American SLMPD

  police officer who was near the intersection was arrested and beaten by other SLMPD

  police officers.

  ANSWER: Defendants are without sufficient knowledge or information to form a

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  belief as to the truth of paragraph 87’s allegations and therefore deny the same.

          88.     Some individuals caught in the kettle had been wearing goggles because they

  feared the deployment of chemical agents, based on the SLMPD's well known pattern and

  practice of using chemical agents against peaceful protestors.

  ANSWER: Defendants admit individuals were wore masks and goggles concealing

  their identities. Defendants otherwise deny paragraph 88’s allegations.

          89.     Others found paper masks on the ground or other objects in order to

  protect themselves as it became apparent that SLMPD was preparing to effectuate illegal and

  likely violent arrests.

  ANSWER: Defendants deny paragraph 89’s allegations.

          90.     In response, SLMPD officers roughly removed the goggles and then sprayed

  some of those individuals directly in the face.

  ANSWER: Defendants deny paragraph 90’s allegations.

          91.     At the same time, SLMPD officers screamed derogatory and homophobic

  epithets at individuals as they were being arrested.

  ANSWER: Defendants deny paragraph 91’s allegations.

          92.     These punitive measures were delivered without regard to the fact that the

  individuals were peaceful and compliant.

  ANSWER: Defendants deny paragraph 92’s allegations.

          93.     Defendant Rossomanno can be seen on video within arms-length of

  SLMPD officers who were pepper spraying and beating peaceful and compliant

  citizens. Rather than instructing these officers to cease violating the civil right of the

  citizens, Defendant Rossomanno took control of the situation and directed the officers'

  unlawful actions.

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 ANSWER:         Defendants deny paragraph 93’s allegations.

          94.     SLMPD officers used hard plastic zip ties to arrest all of the individuals.

  Over two months later, several continue to suffer from pain and numbness in their hands due

  to the tightness of the zip ties.

  ANSWER: Defendants admit plastic zip tie handcuffs were used in an appropriate

  manner. Defendants otherwise deny paragraph 94’s allegations.

          95.     Over 100 people were arrested that night.

  ANSWER: Defendants admit paragraph 95’s allegations.

          96.     During and after the arrests, SLMPD officers were observed high fiving each

  other, smoking celebratory cigars, taking selfies on their personal phones with arrestees

  against the arrestees will, and chanting "Whose Streets? Our Streets!"

  ANSWER: Defendants admit some chanting occurred for which officers were later

  reprimanded. Defendants otherwise deny the allegations of paragraph 96.

          97.     That evening, the following celebratory picture was posted on Twitter

  by an anonymous person:




  ANSWER: Defendants admit the photo was posted by an anonymous person.

  Defendants otherwise deny the allegations of paragraph 97.

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          98.     By the coordinated actions of the officers in circling the assembly into the

  kettle and the systematic disbursement of the chemical agents, it is clear that these tactics

  were planned and that senior officials of the SLMPD not only had notice of but actually

  sanctioned the conduct of Defendants.

 ANSWER:         Defendants deny paragraph 98’s allegations.

          99.     Defendants' actions did not occur randomly. Rather, Defendants decided

  beforehand that they would make an example of the arrestees in an attempt to scare other

  citizens from exercising their First Amendment rights to protest against the SLMPD's

  actions.

  ANSWER: Defendants deny paragraph 99’s allegations.

          100.    The next day, the SLMPD Acting Chief reinforced the City's ratification

  of the Defendants' actions when he said, "I'm proud to say the city of St. Louis and the

  police owned the night," while standing next to Saint Louis Mayor Lyda Krewson.

  ANSWER: Defendants deny paragraph 100’s allegations.

          101.    The day after the arrests, Mayor Krewson further validated the illegal

  actions of Defendants when she thanked the officers "for the outstanding job they have

  been doing over the last three days." She added that she fully supported the actions of the

  officers.

  ANSWER: Defendants admit that St. Louis police properly enforced the law during

  the period in question. Defendants otherwise deny the allegations in paragraph 101.

          102.    On November 29, 2018, four SLMPD officers were indicted for their

  actions on September 17, 2017. Emails quoted in the indictment show that the officers were

  informed ahead of time that they would be deployed wearing military-like tactical dress to

  conceal their identities in order to beat protestors. This is exactly what occurred to Plaintiff,

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  under the direct supervision and control of Defendants Leyshock, Boyher, Sachs, Jemerson,

  Karnowski, and Rossomanno.

  ANSWER: Defendants admit certain officers have been indicted for alleged

  unauthorized illegal activity. These officers are in the process of being disciplined.

  Defendants otherwise deny the allegations in paragraph 102.

         103.   When detaining individuals in custody who require medical care, the City

  of St. Louis and its SLMPD has established the following policy:

     PRISONERS REQUIRING MEDICAL ATTENTION (72.6.1)

         1.     A medical emergency is defined as a condition which a reasonable person
                would expect a result in loss of life or function. Examples of medical
                emergencies include severe bleeding, fractures with displacement (bone
                out of alignment), loss of consciousness, non-responsiveness, and
                respiratory distress, severe chest pain or severe shortness of breath. This
                list is not all-inclusive. If you have any doubts, contact the on-duty nurse at
                the City Justice Center for guidance.
         2.     Should a prisoner require emergency medical attention, whether the injury or
                illness occurred during incarceration or not, an Emergency Medical Service
                (EMS) unit will be requested to respond to the holdover for medical
                evaluation and if necessary conveyance to the hospital. EMS will determine
                the destination hospital. An I/LEADS report will be prepared documenting
                all treatment received by the prisoner. If immediate first aid is administered
                by a Department employee or the paramedics, the injury and treatment will
                be noted in the Prisoner's Log Book by the booking clerk.
         3.     Should a prisoner require non-emergency medical attention, the on-duty
                nurse at the City Justice Center will be contacted for guidance.
         4.     The confidential relationship of doctor and patient extends to prisoner patients
                and their physician.
         5.     In the event a prisoner is injured while in custody or shortly before being
                taken into custody, the Watch Commander will arrange to have photographs
                taken of any and all visible injuries. The photographs will be treated as
                physical evidence. If practical, the photos should be taken both prior to the
                application of bandages, etc., and after the injury has received appropriate
                medical attention

 PRISONER HEALTH SCREENING (72.6.3)

       The following prisoner medical "receiving screening" information will be obtained
       and recorded on the Field Booking Form when prisoners are booked and verified
       upon their transfer to another facility or release:


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             1.       Current health and medical history of the prisoner; (72.6.3.a)
             2.       Medication taken by the prisoner; (72.6.3.b)
             3.       Known medication/drug allergies;
             4.       Behavior, including state of consciousness and mental status; and (72.6.3.c)
             5.       Body deformities, trauma markings, bruises, lesions, jaundice (a
                      yellowness of the skin and whites of the eyes), and ease of movement
                      (72.6.3.d)

    NOTE: a copy of the Field Booking Form must be attached to the computerized Arrest
    Register whenever a prisoner is transferred to the City Justice Center.

  ANSWER: Defendants admit paragraph 103’s allegations.

             104.     On information and belief, the SLMPD and City of St. Louis

    Correctional Staff failed and/or refused to follow this policy when they provided no

    medical care to any of the people illegally pepper sprayed or who were hurt by the zip-

    cuffs.

  ANSWER: Defendants deny paragraph 104’s allegations.

             105.     Defendants' decision to ignore the policy constitutes a custom and

    practice of failing and/or refusing to follow this policy designed to protect the safety and

    wellbeing of injured individuals in police custody, showing a deliberate indifference by

    Defendants to the rights of Plaintiff and other injured detainees.

  ANSWER: Defendants deny paragraph 105’s allegations.

             106.     Despite this policy, at no time between their arrest and their release from

    the St. Louis City Justice Center did any police officer or other city official provide

    any arrestee with medical care or give anything to them to wash the chemical agents

    out of their eyes, off their bodies, or off their clothes.

  ANSWER: Defendants deny paragraph 106’s allegations.

         107.       Upon their release, all of the arrestees were given summonses showing that

  they had been charged with "failure to disperse." They were instructed to appear at St.

  Louis City Municipal Court on October 18, 2017.

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  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 107’s allegations and therefore deny the same.

         108.     They were charged as such even though SLMPD officers provided no

  means of egress, denied repeated requests to be allowed to leave, and kettled the

  individuals.

  ANSWER: Defendants deny paragraph 108’s allegations.

         109.     In at least one case, a person was thrown from outside of the kettle into the

  kettle by SLMPD and was subsequently arrested for failure to disperse.

 ANSWER:         Defendants are without sufficient knowledge or information to form a

 belief as to the truth of paragraph 109’s allegations and therefore deny the same.

         110.     The next day on September 18, 2017, SLMPD issued a press release

  falsely accusing the 123 arrestees of engaging in criminal activity.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 110’s allegations and therefore deny the same.

         111.     The press release stated "[m]any of the demonstrators were peaceful, however

  after dark, the agitators outnumbered the peaceful demonstrators and the unruly crowd

  became a mob. Multiple businesses also sustained property damage and one officer suffered

  a serious injury."

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 111’s allegations and therefore deny the same.

         112.     Egregiously and in an attempt to further punish its victims, SLMPD

  publicly released the addresses of the arrestees.

  ANSWER: Defendants deny paragraph 112’s allegations.

         113.     The video evidence, as the federal court observed, "shows no credible

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  threat of force or violence to officers or property in this mixed commercial and

  residential area" - much less a mob. SLMPD also fails to mention that the "one officer who

  suffered a serious injury" was an undercover officer who was pepper sprayed and beaten by

  SLMPD.

  ANSWER: Defendants deny paragraph 113’s allegations.

         114.    SLMPD used its Twitter account to disseminate this false statement to its

  approximately 70,000 followers. SLMPD subsequently deleted the tweet.

  ANSWER: Defendants deny paragraph 114’s allegations.

         115.    During a preliminary injunction hearing, attorneys representing the City

  stated that it was the policy of the City of St. Louis that once property damage occurs,

  SLMPD is justified in declaring an unlawful assembly and then deploying chemical agents

  regardless of the proximity of the target individuals in time or space to the property

  damage and regardless of if the people were engaged in criminal activity. According to

  the City, officers are justified to use chemical agents or beat and arrest anybody merely for

  being close to the area, even hours after the criminal activity has occurred.

  ANSWER: Defendants deny paragraph 115’s allegations.

         116.    On October 13, 2017, the St. Louis City Counselor's office issued a letter

  stating "[a]s of today, the City Counselor is still reviewing the evidence against you in

  order to decide whether or not to file charges and it is not anticipated that this decision

  will be made prior to October 18, 2017. Therefore, you are released from any obligation

  to appear in Municipal Court on October 18, 2017, in connection with the offense being

  considered. After a review of the matter is completed, should a decision be made to file

  charges against you, you will be notified by mail of that decision and advised when and

  where to appear to defend against those charges." See Exh. H.

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  ANSWER: Defendants admit that Exhibit H is quoted in part in paragraph 116.

  Defendants otherwise deny paragraph 116’s allegations.

         117.    On November 15, 2017, a judge in this District barred SLMPD from using

  many of the tactics described in this complaint. See Exh. I, Memorandum and Order of

  Preliminary Injunction, Ahmad v. St. Louis, No. 4:17-cv-02455 (E.D. Mo. Nov. 15, 2017).

  ANSWER: Defendants admit that an order was entered as reflected in Exhibit I.

  Defendants otherwise deny paragraph 117’s allegations.

         118.    The Court found that "[p]rotest activity began shortly after the

  announcement of the verdict on the morning of September 15, 2017. Protesters

  assembled in front of the state courthouse downtown near Tucker and Market streets.

  They did not have a permit to protest because the City of St. Louis does not require, and

  will not provide, a permit for protests." Id. at 2.

  ANSWER: Defendants admit that Exhibit I is quoted in part in paragraph 118, but

  Defendants deny all other allegations and conclusions of paragraph 118.

         119.    The Court found that on September 17, 2017, there was some property

  damage downtown but Defendant Sachs "testified that he was unaware of any property

  damage occurring in the downtown area after 8:30 PM". Id. at 9.

 ANSWER:        Defendants admit that Exhibit I is quoted in part in paragraph 119.

 Defendants otherwise deny paragraph 119’s allegations.

         120.    The Court found that Defendant Rossomanno gave a dispersal order before

  10:00 PM but that "this order did not specify how far protesters had to go to comply with

  the directive to leave the area." Id. at 8. The Court noted that Defendant Sachs "could not

  say 'exactly how far would be enough' to comply with this, or any, dispersal order." Id. at

  8-9.


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  ANSWER: Defendants admit that Exhibit I is quoted in part in paragraph 120.

  Defendants otherwise deny paragraph 120’s allegations.

          121.     The Court found that Defendant Sachs "testified that around 10:00 PM the

  decision was made to make a mass arrest of people remaining in the area of Tucker and

  Washington, which is three or four blocks away from where the earlier dispersal order

  was given." Id. at 9. Yet, SLMPD continued to "freely allowed people ingress into the

  area after the initial dispersal order was given." Id. at 11.

  ANSWER: Defendants admit that Exhibit I is quoted in part in paragraph 121.

  Defendants otherwise deny paragraph 121’s allegations.

          122.     The Court found that at approximately 11:30 PM SLMPD began a mass

  arrest of everyone in the vicinity even though video evidence presented to the Court "does

  not shows a large crowd congregating in the streets" and "(n)o violent activity by protesters

  can be observed on the video." Id. at 10. In fact, the "scene appears calm and most people

  appear relaxed." Id. at 10-11. The only signs of disobedience seen on the video are "four to

  five individuals" sitting on Tucker Avenue, which was closed, and a small group of people

  yelling at the police. Id. at 10.

  ANSWER: Defendants admit that Exhibit I is quoted in part in paragraph 122.

  Defendants otherwise deny paragraph 122’s allegations.

          123.     The video was taken from approximately 10:45 PM to the time of the

  arrests at 11:30 PM Id. at 12. The Court found that no audible warning could be heard on

  the video. Id.

  ANSWER: Defendants admit that the District Court entered an order as reflected in

  Exhibit I. Defendants otherwise deny paragraph 123’s allegations.

          124.     The video "shows an unidentified officer walking around with a hand-held

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  fogger shooting pepper spray at the arrestees, who all appear to be on the ground and

  complying with police commands. This officer issues no verbal commands to any arrestee,

  and no arrestee on the video appears to be resisting arrest. The video shows other

  officers shouting at people on the ground and making threatening gestures at them with

  mace. An unidentified (person) lying face down on the ground is picked up by his feet by

  two officers and dragged across the pavement." Id. at 15-16.

 ANSWER:        Defendants admit that Exhibit I is quoted in part in paragraph 124.

 Defendants otherwise deny paragraph 124’s allegations.

         125.    In an attempt to defend the SLMPD's actions, the City's attorney "stated

  during closing arguments that 'the police have the right to tell people, at this point, we're

  done for the evening; there's no - no more assembling; this assembly is over.'" Id. at 37.

  Not surprisingly, the Court did not adopt this rationale as a basis for the arrests and the use

  of chemical agents.

  ANSWER: Defendants admit that Exhibit I is quoted in part in paragraph 125, but

  Defendants deny all other allegations and conclusions of paragraph 125.

     126.        The Court made the following findings:

                 a.      Plaintiffs are likely to prevail on the merits of their claims that the

         policies or customs of defendant discussed below violate the constitutional rights of

         plaintiffs. Id. at 35-36.

                 b.      Plaintiffs have presented sufficient evidence demonstrating that

         they are likely to prevail on their claim that defendant's custom or policy is to permit

         any officer to declare an unlawful assembly in the absence of the force or violence

         requirement of St. Louis City Ordinance 17.16.275 and Mo. Rev. Stat. § 574.060,

         in violation of plaintiffs' First and Fourth Amendment rights. Id. at 36.


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                c.      Plaintiffs' evidence of the activities in the Washington and Tucker

        intersection on September 17, 2017, shows no credible threat of force or

        violence to officers or property in this mixed commercial and residential area.

        Id. at 37. (Emphasis added).

                d.      Plaintiffs have presented sufficient evidence for purposes of awarding

        preliminary injunctive relief that defendant's custom or policy of committing

        discretionary authority to police officers to declare unlawful assemblies in the

        absence of any threat of force or violent activity provides no notice to citizens of

        what conduct is unlawful, and it permits officers to arbitrarily declare "there's no

        more assembling." Id. at 37-38. Plaintiffs have presented sufficient evidence at this

        stage of the proceedings that this discretion was in fact exercised in such a manner

        in violation of plaintiffs' constitutional rights. Id.


                e.      Similarly,     Plaintiffs     have       presented   sufficient   evidence

        demonstrating that they are likely to prevail on their claim that defendant's

        custom or policy is to permit officers to issue vague dispersal orders to protesters

        exercising their first amendment rights in an arbitrary and retaliatory way and

        then to enforce those dispersal orders without sufficient notice and opportunity to

        comply before being subjected to uses of force or arrest, in violation of Plaintiffs'

        First and Fourth Amendment rights. Id. at 39.

                f.      Plaintiffs presented sufficient, credible evidence for purposes of

        awarding preliminary injunctive relief that defendant has a custom or policy, in

        the absence of exigent circumstances, of issuing dispersal orders to citizens engaged

        in expressive activity critical of police which are either too remote in time and/or too

        vaguely worded to provide citizens with sufficient notice and a reasonable

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        opportunity to comply, inaudible and/or not repeated with sufficient frequency

        and/or by a sufficient number of officers to provide citizens with sufficient notice

        and a reasonable opportunity to comply, contradictory and inconsistent, not

        uniformly enforced, and retaliatory. Id. at 40.

               g.      Plaintiffs have also presented sufficient evidence demonstrating that

        they are likely to prevail on their claim that defendant has a custom or policy of

        using chemical agents without warning on citizens engaged in expressive activity

        that is critical of police or who are recording police in retaliation for the exercise of

        their first amendment rights, in violation of the First, Fourth, and Fourteenth

        Amendments. Id. at 41.

               h.      Plaintiffs have presented sufficient, credible testimony and video

        evidence from numerous witnesses that they were maced without warning in the

        absence of exigent circumstances while they were not engaging in violent activity

        and either were not in defiance of police commands (because none were given)

        or were complying with those commands. Id. at 42.


               i.      The City's custom or policy of authorizing the use of hand-held

        mace against non-violent protesters with no warning or opportunity to comply and in

        the absence of      probable    cause    or   exigent   circumstances     impermissibly

        circumvents the protections afforded by the Templeton settlement agreement and

        vests individual officers with unfettered discretion to exercise that authority in an

        arbitrary and retaliatory manner in violation of constitutional rights. Id. at 43-44.

               j.      Plaintiffs' evidence - both video and testimony - shows that officers

        have exercised their discretion in an arbitrary and retaliatory fashion to punish

        protesters for voicing criticism of police or recording police conduct. When all

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         of the evidence is considered, plaintiffs have met their burden of showing that

         they are likely to succeed on their claim that defendant has a custom or policy of

         deploying hand held pepper spray against citizens engaged in recording police or

         in expressive activity critical of police in retaliation for the exercise of their first

         amendment rights, in violation of the First, Fourth, and Fourteenth Amendments.

         Id. at 44.

                 k.     Plaintiffs have also presented sufficient evidence at this preliminary

         stage of the proceedings that the aforementioned customs or policies of defendant

         caused the violations of plaintiff's constitutional rights. Id. at 44. That is because

         "it is well-settled law that a loss of First Amendment freedoms, for even minimal

         periods of time, unquestionably constitutes irreparable injury" and "it is always in

         the public interest to protect constitutional rights." Phelps-Roper v. Nixon, 545

         F.3d 685, 691 (8th Cir. 2008) (internal quotation marks and citations omitted),

         overruled on other grounds, Phelps-Roper v. City of Manchester, Mo., 697 F.3d 678

         (2012). Id. at 44-45.

  ANSWER: Defendants admit that Exhibit I is quoted in part by paragraph 126, but

  Defendants otherwise deny the allegations and conclusions of paragraph 126 and each

  of its subparts.

         127.    Upon information and belief, senior officials of the SLMPD, including

  Defendants Leyshock, Boyher, Sachs, Jemerson, Karnowski, and Rossomanno, were

  directing such actions and conduct and/or tacitly accepting and encouraging such conduct by

  not preventing officers from engaging in such conduct and by not disciplining them when

  they did engage in such actions and conduct.

  ANSWER: Defendants deny the allegations and conclusions of paragraph 127.


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                                ALLEGATIONS (SPECIFIC)

         128.    Mr. Baude moved to St. Louis in January of 2015. He resides in

  downtown St. Louis, approximately three blocks from the intersection of Washington

  Avenue and Tucker Boulevard.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 128’s allegations and therefore deny the same.

         129.    Mr. Baude currently works at Scott Air Force Base as an Air Logistics

  Coordinator. Mr. Baude serves as a lieutenant colonel in the National Guard. His

  relationship with law enforcement prior to this incident was characterized by trust,

  admiration, and respect.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 129’s allegations and therefore deny the same.

         130.    On Sunday, September 17, 2017, Mr. Baude was at his home when he

  saw a message posted by a friend on social media about people allegedly destroying

  property.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 130’s allegations and therefore deny the same.

         131.    As a civic-minded community member and independent reporter, Mr. Baude

  decided to document this activity so that bad actors could be held accountable.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 131’s allegations and therefore deny the same.

         132.    Around 9:30 PM, he left his home intending to record any protest-related

  incidents. His goal was to act as a neutral observer safeguarding the truth, and he wanted to

  help protect his community.

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  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 132’s allegations and therefore deny the same.

         133.    As Mr. Baude walked past the St. Louis Public Library, he saw what

  appeared to be a staging area and a group of police officers on bikes. These officers were

  aggressive to Mr. Baude as he passed by.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 133’s allegations and therefore deny the same.

         134.    He then continued east on Olive Street. Between Ninth Street and Tenth

  Street, he took pictures of broken flower pots and other damage, which he posted to

  Twitter.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 134’s allegations and therefore deny the same.

         135.    Eventually, Mr. Baude began walking back toward his home by heading

  west on Washington Avenue. He saw very little protest-related activity.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 135’s allegations and therefore deny the same.

         136.    As Mr. Baude approached Tucker Boulevard, he saw a line of police

  officers assembled on Tucker near Lucas Avenue. Mr. Baude stood with his back to the

  police line and recorded the small group of people gathered there.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 136’s allegations and therefore deny the same.

         137.    When Mr. Baude witnessed a knocked-over trash can, Mr. Baude picked up

  the can and replaced the trash.

  ANSWER: Defendants are without sufficient knowledge or information to form a

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  belief as to the truth of paragraph 137’s allegations and therefore deny the same.

         138.    Mr. Baude then walked south on Tucker until he reached Locust, where he

  encountered another line of police officers and a group of citizens east of the intersection

  near the 1100 block of Locust.

  ANSWER: Defendants admit police officers formed lines in the vicinity of Washington

  and Tucker at various times throughout the evening on September 17, 2017. Defendants

  otherwise deny paragraph 138’s allegations.

         139.    Mr. Baude recorded the activity from a parking lot near the northeast corner

  of the intersection.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 139’s allegations and therefore deny the same.

         140.    After about ten minutes, he heard SLMPD make an announcement

  instructing everyone gathered there to leave the area by walking west on Locust and

  north on Tucker. He attempted to comply with police instructions by proceeding north on

  Tucker toward Washington. When he reached Washington, he saw the police line advance

  north, eventually taking a position at Tucker and St. Charles Street.

  ANSWER: Defendants admit police officers formed lines and gave repeated orders to

  disperse in the vicinity of Washington and Tucker at various times throughout the

  evening on September 17, 2017. Defendants otherwise deny paragraph 140’s allegations.

         141.    The presence of dozens of police vehicles and flashing lights had attracted

  individuals from the shops, restaurants, and residential buildings along Washington,

  many of whom were now gathered on the sidewalk.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 141’s allegations and therefore deny the same.

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         142.    Mr. Baude estimates that forty-five minutes had elapsed since police

  officers told protestors to leave the area near Tucker and Locust and head north to

  Washington and Tucker. At no time did Mr. Baude hear SLMPD give any additional

  dispersal orders.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 142’s allegations and therefore deny the same.

         143.    Eventually Mr. Baude noticed that lines of riot police were blocking

  Washington to the east and west.

  ANSWER: Defendants admit police officers formed lines in the vicinity of Washington

  and Tucker at various times throughout the evening on September 17, 2017. Defendants

  otherwise deny paragraph 143’s allegations.

         144.    When he asked a police officer near the center of the intersection of

  Washington and Tucker where he should go, Mr. Baude was told it was too late to leave.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 144’s allegations and therefore deny the same.

         145.    Mr. Baude approached another officer in the line across Tucker south of

  Washington and asked if there was anything Mr. Baude could do to be helpful. The officer

  grabbed Mr. Baude by the lapels and shoved him back into the intersection.

  ANSWER: Defendants deny paragraph 145’s allegations.

         146.    As Mr. Baude's experience illustrates, SLMPD officers gave no orders or

  instructions. Instead, they slowly boxed people in on all sides such that dispersal was

  impossible, even for those citizens like Mr. Baude who expressed a genuine desire to be

  helpful and compliant.

  ANSWER: Defendants deny paragraph 146’s allegations.

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         147.    Without warning, an SLMPD officer blasted Mr. Baude in the back and

  right side of the head with pepper spray as other police officers began to indiscriminately

  spray the other compliant and peaceful citizens who had been kettled.

  ANSWER: Defendants deny paragraph 147’s allegations.

         148.    Mr. Baude dropped down on one knee and put his hands behind his back

  in an attempt to appear as compliant as possible. Mr. Baude was still recovering from

  shoulder surgery eighteen months earlier, and he wanted to ensure police officers did not

  exacerbate his injury by wrenching his arms behind his back.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 148’s allegations and therefore deny the same.

         149.    He witnessed police officers continue to pepper spray and assault individuals

  who were likewise compliant.

  ANSWER: Defendants deny paragraph 149’s allegations.

         150.    He believes SLMPD singled out, taunted, and punished individuals who had

  been recording their activity.

  ANSWER: Defendants deny paragraph 150’s allegations.

         151.    SLMPD officer arrested Mr. Baude, zip tied his hands, and lined him up with

  others against a building on Tucker.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 151’s allegations and therefore deny the same.

         152.    SLMPD officers then took Mr. Baude to the City Justice Center where he

  was detained for fourteen hours in an overcrowded cell.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 152’s allegations and therefore deny the same.
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         153.    Mr. Baude was subjected to an excessive and invasive search after arrest,

  which he believes was intended primarily to harass him. He witnessed individuals soaked

  with pepper spray sit in agonizing discomfort while police officers ignored their complaints.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 153’s allegations and therefore deny the same.

         154.    After his original court date was canceled, he has received no further

  information about any outstanding charges against him.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 154’s allegations and therefore deny the same.

         155.    Mr. Baude's ordeal has had a chilling effect on his expressive activity. He no

  longer records incidents involving police and protestors for fear of personal and

  professional repercussions. He also suffered emotional anxiety caused by the fear of

  losing his job and a profound sense of injustice. Mr. Baude continues to grapple with

  feelings of mistrust toward police officers, and the entire incident has undermined his faith

  in society and the rule of law.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 155’s allegations and therefore deny the same.

         156.    Due to his position in the military and his security clearance, Mr. Baude

  reported his arrest immediately to his supervisors. During his most recent clearance renewal,

  this arrest was reviewed in depth by military officials.

  ANSWER: Defendants are without sufficient knowledge or information to form a

  belief as to the truth of paragraph 156’s allegations and therefore deny the same.



                                              COUNT I

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         157.    Plaintiff incorporates by reference the allegations in the foregoing

  paragraphs of this Complaint as if fully set forth herein.

  ANSWER: Paragraph 157 contains no allegations of fact and therefore, requires no

  response. To the extent a response is required, denied.

         158.    Defendants knew or should have known that SLMPD officers did not have

  probable cause to arrest Plaintiff.

  ANSWER: Defendants deny paragraph 158’s allegations.

         159.    Defendants unreasonably seized Plaintiff, thereby depriving Plaintiff of

  Plaintiff's right to be free from unreasonable seizure of Plaintiff's person in violation of

  the Fourth and Fourteenth Amendments to the United States Constitution.

  ANSWER: Defendants deny paragraph 159’s allegations.

         160.    Further, there was no objectively reasonable belief that Plaintiff had

  committed a criminal offense, nor was there even arguable probable cause for the arrest.

  As such, the seizure was unreasonable.

  ANSWER: Defendants deny paragraph 160’s allegations.

         161.    Plaintiff was unreasonably seized when Defendants terminated Plaintiff's

  freedom of movement by use of kettling.

  ANSWER: Defendants deny paragraph 161’s allegations.

         162.    Defendants' use of kettling without providing warning to Plaintiff was an

  unreasonable seizure. As a direct result of the conduct of Defendants described herein,

  Plaintiff suffered physical injury and emotional trauma.

  ANSWER: Defendants deny paragraph 162’s allegations.

         163.    Defendants engaged in these unlawful actions willfully and knowingly, acting


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  with reckless or deliberate indifference to Plaintiff's Fourth Amendment rights. As a direct

  and proximate result of Defendants' unlawful actions, Plaintiff was damaged.

  ANSWER: Defendants deny paragraph 163’s allegations.

         164.     At all times, Defendants were acting under color of state law.

  ANSWER: Paragraph 164 asserts a legal conclusion rather than an allegation of fact

  requiring no response. To the extent a response is required, denied.

         165.     If Plaintiff prevails, Plaintiff is entitled to recover attorneys' fees pursuant to

  42 U.S.C. § 1988.

  ANSWER: Defendants deny paragraph 165’s allegations.

                                          COUNT II

         166.     Plaintiff incorporates by reference each and every allegation contained

  in the preceding paragraphs as if fully set forth herein.

  ANSWER: Paragraph 166 contains no allegations of fact and therefore, requires no

  response. To the extent a response is required, denied.

         167.     Plaintiff has a fundamental right to assemble and express Plaintiff's views

  protected by the freedom of association and freedom of speech clauses of the First

  Amendment, as applied to the states under the Fourteenth Amendment to the United States

  Constitution.

  ANSWER: Defendants admit that all citizens have a fundamental right to speak and to

  assemble, subject to reasonably time, place, and manner regulations; Defendants

  otherwise deny the conclusions of paragraph 167.

         168.     Defendants' actions violated Plaintiff's rights under the First Amendment to

  freedom of speech and freedom of assembly by interfering with Plaintiff's ability to

  associate freely in public and express Plaintiff's views as part of a peaceful demonstration.

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  ANSWER: Defendants deny paragraph 168’s allegations.

         169.     Observing and recording public protests, and the police response to those

  protests, is also a legitimate means of gathering information for public dissemination that

  is protected by the freedom of speech and freedom of the press clauses of the First

  Amendment, as applied to the states under the Fourteenth Amendment to the United States

  Constitution.

  ANSWER: Paragraph 169 contains legal conclusions rather than allegations of fact,

  requiring no response. To the extent a response is required, denied.

         170.     Defendants' actions violated Plaintiff's First Amendment rights to freedom

  of the press and freedom of speech by interfering with Plaintiff's ability to gather

  information and cover a matter of public interest.

  ANSWER: Defendants deny paragraph 170’s allegations.

         171.     Defendants engaged in these unlawful actions willfully and knowingly, acting

  with reckless or deliberate indifference to Plaintiff's First Amendment rights.

  ANSWER: Defendants deny paragraph 171’s allegations.

         172.     As a direct and proximate result of Defendants' unlawful actions described

  herein, Plaintiff suffered damages including: physical injury, emotional trauma, great

  concern for Plaintiff's own safety; fear, apprehension, depression, anxiety, consternation

  and emotional distress.

  ANSWER: Defendants deny paragraph 172’s allegations.

         173.     Additionally, Defendants' actions described herein have had a chilling

  effect on Plaintiff, who is now less likely to participate in free public discourse.

  ANSWER: Defendants deny paragraph 173’s allegations.

         174.     At all times, Defendants were acting under color of state law.

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  ANSWER: Paragraph 174 asserts a legal conclusion rather than an allegation of fact

  requiring no response. To the extent a response is required, denied.

         175.    If Plaintiff prevails, Plaintiff is entitled to recover attorneys' fees pursuant to

  42 U.S.C. § 1988.

  ANSWER: Defendants deny paragraph 175’s allegations.

                                           COUNT III

         176.    Plaintiff incorporates by reference the allegations in the foregoing

  paragraphs of this Complaint as if fully set forth herein.

  ANSWER: Paragraph 176 contains no allegations of fact and therefore, requires no

  response. To the extent a response is required, denied.

         177.    Defendants, acting in their individual capacities and under color of law,

  conspired together and with others, and reached a mutual understanding to undertake a

  course of conduct that violated Plaintiff's civil rights.

 ANSWER:        Defendants deny paragraph 177’s allegations.

         178.    The City of St. Louis itself was a member of the conspiracy because

  throughout the night, the highest levels of the SLMPD, Department of Public Safety, and

  City government were involved in the planning, monitoring and/or execution of this event.

 ANSWER:        Defendants deny paragraph 178’s allegations.

         179.    As described above, Defendants Leyshock, Sachs, Jemerson, and

  Rossomanno conspired to design and implement the illegal kettling plan, with the intent to

  unlawfully arrest and use excessive force on Plaintiff.

 ANSWER:        Defendants deny paragraph 179’s allegations.

         180.    Defendants Boyher and Karnowski joined the conspiracy when they directed



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  officers under their control and supervision to execute the illegal kettling plan, with the

  intent to unlawfully arrest and use excessive force on Plaintiff.

 ANSWER:           Defendants deny paragraph 180’s allegations.

            181.    Defendants Bockskopf and Does joined the conspiracy when they agreed to

  participate in the illegal kettling plan and then unlawfully arrested and used excessive

  force on Plaintiff.

 ANSWER:           Defendants deny paragraph 181’s allegations.

            182.    In furtherance of this conspiracy, Defendants committed the following overt

  acts:
                    a.      Defendants, acting in concert, kettled and unlawfully seized Plaintiff.

            They detained Plaintiff's in the City Justice Center for approximately 14 hours.

                    b.      Defendants used excessive force by tying Plaintiff's hands in the zip-
                            cuffs.
                    c.      Defendants used excessive force by deploying chemical agent

            against Plaintiff.

                    d.      Defendants assaulted Plaintiff.

                    e.      Defendants initiated charges against Plaintiff that would chill a

            person of ordinary firmness.

ANSWER: Defendants deny the allegations contained in paragraph 182 and each of its

subparts.

            183.    As a direct and proximate result of the conspiracy between Defendants and

  others as described above, Plaintiff was subjected to assault; the use of excessive force; the

  deprivation of the right to be free from unreasonable search and seizure; and malicious

  prosecution.

  ANSWER: Defendants deny paragraph 183’s allegations.

            184.    As a direct and proximate result of Defendants' actions, Plaintiff suffered

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  and will continue to suffer physical pain and injury and emotional trauma.

  ANSWER: Defendants deny paragraph 184’s allegations.

         185.    The acts described herein were intentional and callously indifferent to the

  rights of Plaintiff, thus entitling Plaintiff to an award of punitive damages against the

  Defendants.

  ANSWER: Defendants deny paragraph 185’s allegations.

         186.    At all times, Defendants were acting under color of state law.

  ANSWER: Paragraph 186 asserts a legal conclusion rather than an allegation of fact

  requiring no response. To the extent a response is required, denied.

         187.    If Plaintiff prevails, Plaintiff is entitled to recover attorneys' fees pursuant to

  42 U.S.C. § 1988.

  ANSWER: Defendants deny paragraph 187’s allegations.


                                          COUNT IV

         188.    Plaintiff incorporates by reference the allegations in the foregoing

  paragraphs of this Complaint as if fully set forth herein.

  ANSWER: Paragraph 188 contains no allegations of fact and therefore, requires no

  response. To the extent a response is required, denied.

         189.    Defendant City is liable to Plaintiff pursuant to 42 U.S.C. § 1983 for the

  other Defendants' violation of Plaintiff's rights because the violations were caused by a

  policy, practice, or custom of the St. Louis Metropolitan Police Department. Among the

  SLMPD policies, practices, or customs that caused constitutional harm to Plaintiff are the

  following:

                 a.      SLMPD officers' routine use of excessive force when policing

         protests, especially those at which police brutality is being protested;

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                 b.      SLMPD custom or policy of using kettling without warning on citizens

         who are not resisting arrest and who are exercising First Amendment rights, whether

         those rights be protesting or reporting;


                 c.      SLMPD's policy or custom of issuing vague and even contradictory

         dispersal orders without giving an opportunity to comply;

                 d.      SLMPD's policy of arbitrarily declaring unlawful assemblies in the

         absence of any threat or force or violent activity that provides no notice to

         citizens or unlawful conduct;

                 e.      Additionally, SLMPD has a custom, policy, or practice of

         violating the Fourth Amendment by regularly conducting unreasonable seizures

         and arresting individuals without probable cause.

  ANSWER: Defendants deny the allegations contained in paragraph 189 and each of its

  subparts.

         190.    Further, Defendant City has inadequately trained, supervised, and disciplined

  SLMPD officers, with respect to its officers' use of kettling and use of force.

  ANSWER: Defendants deny paragraph 190’s allegations.

         191.    In its failures, Defendant City has been deliberately indifferent to the

  rights of citizens, and these failures and policies are the moving force behind, and direct

  and proximate cause of, the constitutional violations suffered by Plaintiff as alleged herein.

  ANSWER: Defendants deny paragraph 191’s allegations.

         192.    As a direct result of the Defendant City's failures and policies as described

  herein, Plaintiff suffered damages including: physical injury, fear, apprehension, and

  concern for Plaintiff's own safety.



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  ANSWER: Defendants deny paragraph 192’s allegations.

            193.   If Plaintiff prevails, Plaintiff is entitled to recover attorneys' fees pursuant to

  42 U.S.C. § 1988.

  ANSWER: Defendants deny paragraph 193’s allegations.


                                           COUNT V

            194.   Plaintiff incorporates by reference the allegations in the foregoing

  paragraphs of this Complaint as if fully set forth herein.

  ANSWER: Paragraph 194 contains no allegations of fact and therefore, requires no

  response. To the extent a response is required, denied.

            195.     The use of kettling, without warning and without a way to egress, caused

  Plaintiff to experience apprehension of immediate physical injury.

  ANSWER: Defendants deny paragraph 195’s allegations.

            196.   The brandishing and deployment of chemical agents for no lawful

  reason by Defendants caused Plaintiff to experience apprehension of immediate physical

  injury.

  ANSWER: Defendants deny paragraph 196’s allegations.

            197.   The arrest of Plaintiff by Defendants, without explanation, and the place of

  Plaintiff's hands in zip-cuffs purposely placed Plaintiff in apprehension of immediate

  physical injury.

  ANSWER: Defendants deny paragraph 197’s allegations.

            198.     As a direct result of the conduct of Defendants described herein, Plaintiff

  suffered damages including: apprehension, fear, concern for Plaintiff's own safety, and

  physical injury.


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  ANSWER: Defendants deny paragraph 198’s allegations.

         199.    Defendant City of St. Louis obtains insurance from the Public Facilities

  Protection Corporation, a not for profit corporation into which the City pays funds yearly.

  The funds are later disbursed by the corporation to pay claims against the City.

  ANSWER: Defendants deny paragraph 199’s allegations and conclusions.

         200.    Alternatively, the City's relationship with the PFPC serves as a self-insurance

  plan. The 2017 Comprehensive Annual Financial Report for the City of St. Louis, Missouri

  states "[t]he PFPC is reported as if it were part of the primary government because its sole

  purpose is to provide the City with a defined and funded self-insurance program for claims,

  judgments, and other related legal matters . . .."

  ANSWER: Defendants deny paragraph 200’s allegations and conclusions.

         201.    By possessing such insurance or self-insurance, the City has waived

  sovereign immunity on state claims pursuant to § 537.610.1, RSMo.

  ANSWER: Defendants deny paragraph 201’s allegations and conclusions.

         202.    The actions of Defendants as described above were carried out in bad faith and

  with malice, and done with actual, wanton intent to cause injury, such that punitive damages

  should be awarded to punish Defendants and to deter them, as well as other similarly-

  situated individuals, from engaging in similar conduct in the future, in an amount to be

  determined by a jury.

  ANSWER: Defendants deny paragraph 202’s allegations.

                                          COUNT VI

         203.    Plaintiff incorporates by reference the allegations in the foregoing

  paragraphs of this Complaint as if fully set forth herein.

  ANSWER: Paragraph 203 contains no allegations of fact and therefore, requires no

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  response. To the extent a response is required, denied.

         204.    Plaintiff was arrested without any legal justification or probable cause by

  Defendants.

  ANSWER: Defendants deny paragraph 204’s allegations.

         205.    Defendants proceeded to constrain and confine Plaintiff against Plaintiff's free

  will. There was no lawful justification for Defendants restraining and confining Plaintiff in

  the above manner.

  ANSWER: Defendants deny paragraph 205’s allegations.

         206.    As a direct result of the conduct of Defendants described herein, Plaintiff

  suffered damages including: physical injury, fear, apprehension, and emotional trauma.

  ANSWER: Defendants deny paragraph 206’s allegations.

         207.    The actions of Defendants as described above were carried out in bad faith and

  with malice, such that punitive damages should be awarded to punish Defendants and to

  deter them, as well as other similarly-situated individuals from engaging in similar conduct

  in the future, in an amount to be determined by a jury.

  ANSWER: Defendants deny paragraph 207’s allegations.

                                          COUNT VII

         208.    Plaintiff incorporates by reference each and every allegation contained

  in the preceding paragraphs as if fully set forth herein.

  ANSWER: Paragraph 208 contains no allegations of fact and therefore, requires no

  response. To the extent a response is required, denied.

         209.    Defendants intentionally restrained and confined Plaintiff against Plaintiff's

  will when they took Plaintiff into custody and detained Plaintiff.

 ANSWER:        Defendants admit that Plaintiff was arrested in September 17, 2017 with

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 probable cause. Defendants are without sufficient information to form a belief as to the

 truth of paragraph 209’s remaining allegations, and therefore deny the same.

         210.    Plaintiff did not consent to Defendants' actions in removing and confining

  Plaintiff in the manner described above, nor in any manner whatsoever.

  ANSWER: Defendants are without sufficient information to form a belief as to the

  truth of paragraph 210’s allegations, and therefore deny the same.

         211.    There was no lawful justification for Defendants to restrain and confine

  Plaintiff in the manner described above.

 ANSWER:        Defendants deny paragraph 211’s allegations.

         212.    Defendants held Plaintiff in confinement for a substantial period of time,

  spanning several hours.

  ANSWER: Defendants are without sufficient information to form a belief as to the

  truth of paragraph 212’s allegations, and therefore deny the same.

         213.    As a direct and proximate result of Plaintiff's false imprisonment by

  Defendants, Plaintiff suffered damages including: physical injury, emotional trauma, great

  concern for Plaintiff's own safety; fear, apprehension, depression, anxiety, consternation

  and emotional distress.

  ANSWER: Defendants deny paragraph 213’s allegations.

         214.    Defendant City of St. Louis obtains insurance from the Public Facilities

  Protection Corporation, a not for profit corporation into which the City pays funds yearly.

  The funds are later disbursed by the corporation to pay claims against the City.

  ANSWER: Defendants deny paragraph 214’s allegations and conclusions.

         215.    Alternatively, the City's relationship with the PFPC serves as a self-insurance

  plan. The 2017 Comprehensive Annual Financial Report for the City of St. Louis, Missouri


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  states "[t]he PFPC is reported as if it were part of the primary government because its sole

  purpose is to provide the City with a defined and funded self-insurance program for claims,

  judgments, and other related legal matters . . .."

  ANSWER: Defendants deny paragraph 215’s allegations and conclusions.

         216.    By possessing such insurance or self-insurance, the City has waived

  sovereign immunity on state claims pursuant to § 537.610.1, RSMo.

  ANSWER: Defendants deny paragraph 216’s allegations and conclusions.

         217.    Defendants' actions in causing the false imprisonment of Plaintiff, as

  described above, were carried out with an evil motive and/or reckless indifference and

  conscious disregard for Plaintiff's rights, thereby entitling Plaintiff to punitive damages

  in an amount sufficient to punish and deter Defendants and others similarly situated from

  like conduct in the future.

  ANSWER: Defendants deny paragraph 217’s allegations.

                                          COUNT VIII

         218.    Plaintiff incorporates by reference the allegations in the foregoing

  paragraphs of this Complaint as if fully set forth herein.

  ANSWER: Paragraph 218 contains no allegations of fact and therefore, requires no

  response. To the extent a response is required, denied.

         219.    Defendants made an illegal, improper, and perverse use of process by

  arresting, charging, and detaining Plaintiff without any legal justification or probable cause

  in order to harass and intimidate Plaintiff, which constitutes an improper collateral purpose.

  ANSWER: Defendants deny paragraph 219’s allegations.

         220.    Defendants acted willfully and knowingly when they abused legal


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  process for unlawful purposes and with an illegitimate collateral objective, in that

  Defendants used legal process through their authority for purposes other than the legitimate

  investigation and prosecution of criminal acts.

  ANSWER: Defendants deny paragraph 220’s allegations.

         221.    As a direct and proximate result of Defendants' abuse of process, Plaintiff

  suffered damages including: emotional trauma, great concern for Plaintiff's own safety; fear,

  apprehension, depression, anxiety, consternation and emotional distress; lost time; loss

  of employment opportunity; and loss of faith in society.

  ANSWER: Defendants deny paragraph 221’s allegations.

         222.    Defendants' abuse of process, as described above, was carried out with

  an evil motive and/or reckless indifference and conscious disregard for Plaintiff's rights,

  thereby entitling Plaintiff to punitive damages in an amount sufficient to punish and deter

  Defendants and others similarly situated from like conduct in the future.

  ANSWER: Defendants deny paragraph 222’s allegations.

                                          COUNT IX

         223.    Plaintiff incorporates by reference the allegations in the foregoing

  paragraphs of this Complaint as if fully set forth herein.

  ANSWER: Paragraph 223 contains no allegations of fact and therefore, requires no

  response. To the extent a response is required, denied.

         224.    Defendants assisted in the filing of charges against Plaintiff with no probable

  cause that Plaintiff had committed a crime or ordinance violation.

  ANSWER: Defendants deny paragraph 224’s allegations.

         225.    Such charges were subsequently dismissed against Plaintiff. As a direct

  result of the conduct of Defendants described herein, Plaintiff suffered damages including:

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  physical injury, emotional trauma, great concern for Plaintiff's own safety; fear,

  apprehension, depression, anxiety, consternation and emotional distress; lost time; loss of

  employment opportunity; and loss of faith in society.

  ANSWER: Defendants deny paragraph 225’s allegations.

         226.    Defendant City of St. Louis obtains insurance from the Public Facilities

  Protection Corporation, a not for profit corporation into which the City pays funds yearly.

  The funds are later disbursed by the corporation to pay claims against the City.

  ANSWER: Defendants deny paragraph 226’s allegations and conclusions.

         227.    Alternatively, the City's relationship with the PFPC serves as a self-insurance

  plan. The 2017 Comprehensive Annual Financial Report for the City of St. Louis, Missouri

  states "[t]he PFPC is reported as if it were part of the primary government because its sole

  purpose is to provide the City with a defined and funded self-insurance program for claims,

  judgments, and other related legal matters . . .."

  ANSWER: Defendants deny paragraph 227’s allegations and conclusions.

         228.    By possessing such insurance or self-insurance, the City has waived

  sovereign immunity on state claims pursuant to § 537.610.1, RSMo.

  ANSWER: Defendants deny paragraph 228’s allegations and conclusions.

         229.    The actions of Defendants as described above were carried out in bad faith and

  with malice, and done with actual, wanton intent to cause injury, such that punitive damages

  should be awarded to punish Defendants and to deter them, as well as other similarly-

  situated individuals, from engaging in similar conduct in the future, in an amount to be

  determined by a jury.

  ANSWER: Defendants deny paragraph 229’s allegations.



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                                          COUNT X

         230.    Plaintiff incorporates by reference the allegations in the foregoing

  paragraphs of this Complaint as if fully set forth herein.

  ANSWER: Paragraph 230 contains no allegations of fact and therefore, requires no

  response. To the extent a response is required, denied.

         231.    By surrounding, assaulting Plaintiff, spraying Plaintiff in the face at point-

  blank range with a chemical agent, and arresting Plaintiff without probable cause, Defendants

  committed acts that rose to the level of extreme or outrageous conduct that goes beyond the

  possible bounds of decency, so as to be regarded as atrocious and utterly intolerable in a

  civilized community.

  ANSWER: Defendants deny paragraph 231’s allegations.

         232.    Defendants' actions were intentional or, at best, reckless.

  ANSWER: Defendants deny paragraph 232’s allegations.

         233.    Such actions by Defendants have caused Plaintiff severe emotional distress

  that has resulted in bodily harm, as described above.

  ANSWER: Defendants deny paragraph 233’s allegations.

         234.    Defendants' sole motivation was to cause emotional distress to Plaintiff

  and the other people Defendants' unlawfully arrested.

  ANSWER: Defendants deny paragraph 234’s allegations.

         235.    As a direct result of the conduct of Defendants described herein, Plaintiff

  suffered damages including: physical injury, emotional trauma, great concern for

  Plaintiff's own safety; fear, apprehension, depression, anxiety, consternation and

  emotional distress; lost time; loss of employment opportunity; and loss of faith in society.

  ANSWER: Defendants deny paragraph 235’s allegations.


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         236.    Defendant City of St. Louis obtains insurance from the Public Facilities

  Protection Corporation, a not for profit corporation into which the City pays funds yearly.

  The funds are later disbursed by the corporation to pay claims against the City.

  ANSWER: Defendants deny paragraph 236’s allegations and conclusions.

         237.    Alternatively, the City's relationship with the PFPC serves as a self-insurance

  plan. The 2017 Comprehensive Annual Financial Report for the City of St. Louis, Missouri

  states "[t]he PFPC is reported as if it were part of the primary government because its sole

  purpose is to provide the City with a defined and funded self-insurance program for claims,

  judgments, and other related legal matters . . .."

  ANSWER: Defendants deny paragraph 237’s allegations and conclusions.

         238.    By possessing such insurance or self-insurance, the City has waived

  sovereign immunity on state claims pursuant to § 537.610.1, RSMo.

  ANSWER: Defendants deny paragraph 238’s allegations and conclusions.

         239.    The actions of Defendants as described above were carried out in bad faith and

  with malice, and done with actual, wanton intent to cause injury, such that punitive damages

  should be awarded to punish Defendants and to deter them, as well as other similarly-

  situated individuals, from engaging in similar conduct in the future, in an amount to be

  determined by a jury.

  ANSWER: Defendants deny paragraph 239’s allegations.

                                          COUNT XI

         240.    Plaintiff incorporates by reference each and every allegation contained

  in the preceding paragraphs as if fully set forth herein.

  ANSWER: Paragraph 240 contains no allegations of fact and therefore, requires no

  response. To the extent a response is required, denied.

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         241.    Alternative to Count XII, above, by surrounding Plaintiff, assaulting

  Plaintiff, spraying Plaintiff with pepper spray in the face at point-blank range, and arresting

  Plaintiff without probable cause, Defendants realized or should have realized that their

  conduct posed an unreasonable risk to Plaintiff.

  ANSWER: Defendants deny paragraph 241’s allegations.

         242.    Further, Plaintiff was reasonably in fear for his own person because of the

  actions of Defendants and suffered emotional distress or mental injury that is medically

  diagnosable and sufficiently severe to be medically significant as a result of Defendants'

  actions.

  ANSWER: Defendants deny paragraph 242’s allegations.

         243.    Defendant City of St. Louis obtains insurance from the Public Facilities

  Protection Corporation, a not for profit corporation into which the City pays funds yearly.

  The funds are later disbursed by the corporation to pay claims against the City.

  ANSWER: Defendants deny paragraph 243’s allegations and conclusions.

         244.    Alternatively, the City's relationship with the PFPC serves as a self-insurance

  plan. The 2017 Comprehensive Annual Financial Report for the City of St. Louis, Missouri

  states "[t]he PFPC is reported as if it were part of the primary government because its sole

  purpose is to provide the City with a defined and funded self-insurance program for claims,

  judgments, and other related legal matters . . .."

  ANSWER: Defendants deny paragraph 244’s allegations and conclusions.

         245.    By possessing such insurance or self-insurance, the City has waived

  sovereign immunity on state claims pursuant to § 537.610.1, RSMo.

  ANSWER: Defendants deny paragraph 245’s allegations and conclusions.

         246.    The actions of Defendants as described above were carried out in bad faith and

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  with malice, and done with actual, wanton intent to cause injury, such that punitive damages

  should be awarded to punish Defendants and to deter them, as well as other similarly-

  situated individuals, from engaging in similar conduct in the future, in an amount to be

  determined by a jury.

  ANSWER: Defendants deny paragraph 246’s allegations.

                                          COUNT XII

         247.    Plaintiff incorporates by reference the allegations in the foregoing

  paragraphs of this Complaint as if fully set forth herein.

  ANSWER: Paragraph 247 contains no allegations of fact and therefore, requires no

  response. To the extent a response is required, denied.

         248.    Defendants engaged in these actions willfully and knowingly, acting with

  reckless or deliberate indifference to the Plaintiff's Fourth Amendment rights. As a direct

  and proximate result of Defendants' unlawful actions, Plaintiff was damaged.

  ANSWER: Defendants deny paragraph 248’s allegations.

         249.    The use of force against Plaintiff, by inflicting harm through use of zip-

  cuffs applied to Plaintiff's wrist, was objectively unreasonable.

  ANSWER: Defendants deny paragraph 249’s allegations.

         250.    The use of kettling, without warning, was objectively unreasonable and

  constituted excessive force.

  ANSWER: Defendants deny paragraph 250’s allegations.

         251.    The use of pepper spray was objectively unreasonable and constituted

  excessive force.

  ANSWER: Defendants deny paragraph 251’s allegations.

         252.    As a direct result of the conduct of Defendants described herein, Plaintiff


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  suffered physical injury and emotional trauma.

  ANSWER: Defendants deny paragraph 252’s allegations.

         253.    At all times, Defendants were acting under color of state law.

  ANSWER: Paragraph 253 asserts a legal conclusion rather than an allegation of fact

  requiring no response. To the extent a response is required, denied.

         254.    If Plaintiff prevails, Plaintiff is entitled to recover attorneys' fees pursuant to

  42 U.S.C. § 1988.

  ANSWER: Defendants deny paragraph 254’s allegations.


                                          COUNT XIII

         255.    Plaintiff incorporates by reference each and every allegation contained

  in the preceding paragraphs as if fully set forth herein.

  ANSWER: Paragraph 255 contains no allegations of fact and therefore, requires no

  response. To the extent a response is required, denied.

         256.    During the process of being unconstitutionally arrested, Plaintiff suffered

  battery at the hands of Defendants.

  ANSWER: Defendants deny paragraph 256’s allegations.

         257.    Namely, Defendants' physically aggressive tactics caused intentional and

  offensive bodily harm to Plaintiff.

  ANSWER: Defendants deny paragraph 257’s allegations.

         258.    In spraying Plaintiff directly in the face with pepper spray - when

  Plaintiff was already attempting to comply with Defendants' directives - caused

  further intentional and offensive bodily contact.

  ANSWER: Defendants deny paragraph 258’s allegations.

         259.    As a direct result of Defendants' conduct described herein, Plaintiff suffered

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  damages including: physical injury, emotional trauma, great concern for Plaintiff's own

  safety; fear, apprehension, depression, anxiety, consternation and emotional distress.

  ANSWER: Defendants deny paragraph 259’s allegations.

         260.    Defendant City of St. Louis obtains insurance from the Public Facilities

  Protection Corporation, a not for profit corporation into which the City pays funds yearly.

  The funds are later disbursed by the corporation to pay claims against the City.

  ANSWER: Defendants deny paragraph 260’s allegations and conclusions.

         261.    Alternatively, the City's relationship with the PFPC serves as a self-insurance

  plan. The 2017 Comprehensive Annual Financial Report for the City of St. Louis, Missouri

  states "[t]he PFPC is reported as if it were part of the primary government because its sole

  purpose is to provide the City with a defined and funded self-insurance program for claims,

  judgments, and other related legal matters . . .."

  ANSWER: Defendants deny paragraph 261’s allegations and conclusions.

         262.    By possessing such insurance or self-insurance, the City has waived

  sovereign immunity on state claims pursuant to § 537.610.1, RSMo.

  ANSWER: Defendants deny paragraph 262’s allegations and conclusions.

         263.    The actions of Defendants as described above were carried out in bad faith and

  with malice, and done with actual, wanton intent to cause injury, such that punitive damages

  should be awarded to punish Defendants and to deter them, as well as other similarly-

  situated individuals, from engaging in similar conduct in the future, in an amount to be

  determined by a jury.

  ANSWER: Defendants deny paragraph 263’s allegations.




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                                     OTHER ANSWERS

1.     Defendants deny all allegations of fact contained in the un-numbered “introduction”

paragraph to Plaintiff’s Second Amended Complaint.

2.     Defendants deny all allegations of fact contained in the “WHEREFORE” clause

located after paragraph 263 of Plaintiff’s Second Amended Complaint.

3.     Defendants request a jury trial on all issues so triable.

                                AFFIRMATIVE DEFENSES

1.     Further answering, Defendants and each of them state that Plaintiff’s Second

Amended Complaint fails to state a claim upon which relief can be granted in each and

every count

2..    Further answering, Defendants and each of them state that all actions of the

individual Defendant officers with regard to Plaintiff were taken on the basis of probable

cause or arguable probable cause to believe that Plaintiff was violating ordinances or

statutes, that Defendants reasonably believed that said defendants' actions were lawful,

that no act of Defendants violated any clearly established constitutional right of Plaintiff,

and so the individual Defendants are immune from liability by reason of the doctrine of

qualified immunity. Because the individual Defendants herein committed no constitutional

tort, Defendant City of St. Louis is not liable to Plaintiff on any theory.

3.     Further answering, Defendants and each of them state that Plaintiff failed to

mitigate his damages by failing to disperse as requested by officers of the law and by failing

promptly to seek medical attention or treatment for claimed injuries.

4.     Further answering, Defendants state that all state law claims asserted against any

defendant in an individual or official capacity are barred by official immunity or by



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sovereign immunity in that the individual defendants herein, in taking any actions with

regard to Plaintiff were exercising discretion in the performance of official duties in

preserving public order and arresting persons reasonably believed to be violating valid

ordinances or statutes.

5.     Further answering, Defendants state that all state law claims asserted against any

defendant in an individual or official capacity are barred because, at the time of each

Plaintiff’s alleged injury, each individual defendant was performing a public duty in

responding to an unlawful assembly and other unlawful acts of numerous persons so as to

preserve public order and the rights of the public in general.

6.     Further answering, Defendants state that liability, if any, to Plaintiff cannot be joint

and several, and damages, if any, can be awarded against any defendant solely based on

that individual defendant's conduct directly causing such damages.

7.     Further answering, Defendants state that any use of force by the individual

defendants herein against Plaintiff was privileged because the force was used reasonably

applied (a) in order to overcome unlawful resistance to or interference with an arrest,

which Plaintiff knew was occurring, (b) in self-defense by the individual defendants,

against whom Plaintiff used or threatened to use force to prevent defendants from

arresting another person or persons, (c) in defense of third persons, namely other officers

at the scene of Plaintiff’s arrest, against whom Plaintiff was using or threatening the use of

force, or (d) as otherwise authorized by Missouri law, including but not limited to §563.021

and §563.046, RSMo.

8.     Further answering, Defendants state that the injuries suffered by Plaintiff, if any,

were of such a nature as can be remedied by existing remedies under the law of Missouri,



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which state law remedies are sufficient post-deprivation remedies so that Plaintiff was not

and is not deprived of any liberty or property interest without due process of law as

prescribed by the Fourteenth Amendment by reason of the acts or conduct of Defendants.

9.     Further answering, Defendants state that, with respect to any negligent count

asserted by Plaintiff, if Plaintiff suffered any injury by reason of any negligent action of

Defendants--which Defendants deny--then and in that event fault must be apportioned to

Plaintiff by reason of Plaintiff’s negligence or assumption of risk in that Plaintiff chose to

encounter the known risk of injury to himself arising from the alleged breach of duty by

defendants.

10.    Further answering, the state law claims against Defendant City of St. Louis are

barred by sovereign immunity.

11.    Defendant incorporates each and every additional affirmative defense that may be

uncovered or made known during the investigation and discovery of this case. Defendant

specifically reserves the right to amend this Answer to include additional affirmative

defenses at a later time.

       WHEREFORE, having fully answered, Defendants respectfully request that this

Court dismiss this case, with prejudice, and for any other such relief as this Court deems

proper.




                                                    Respectfully submitted,
                                                    JULIAN L. BUSH
                                                    CITY COUNSELOR

                                                    /s/ Amy M. Raimondo
                                                    Amy Raimondo 71291MO


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